Case 2:05-cr-20030-.]PI\/| Document 96 Filed 08/30/05 Page 1 of 3 Page|D 125

 

zN THE UNITED sTATEs DISTRICT coURT "WDELW _*"DQ
FOR THE wESTERN DISTRICT oF TENNESSEE _
wEsTERN DIVISION OSAUG AH 5,“2
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UNITED sTATEs oF AMERICA W;D (}F fN£SMB_|S

Plaintiff,

Criminal No. 0 6` - 200;§0 Ml

(BO-Day Continuance)

 

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Defendant(s)

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant{s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. Seotember 23. 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

Thls document entered on the docket shea fn compliance
with Hu|e 55 and/or 32(b) FHCrP on g '®:QS

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so ORDERED this 26th day of August, 2005.

Om‘@&

JO PHIPPS MCCALLA
'I`ED STA'I`ES DIS'I'RICT JUDGE

 

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Assistant United States Attorney

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Counsel for Defendant(s)

 

ISTRICT COURT - WESERT DISTRICT TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 96 in
case 2:05-CR-20030 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

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167 N. Main St.

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Honorable .1 on McCalla
US DISTRICT COURT

